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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                   FLORENCE DIVISION

 CHALPIN REALTY SC, LLC,                      )             Civil Action No: 4:22-cv-02651-JD
                                              )
                                              )
                 Plaintiff,                   )
                                              )          JERSAM REALTY, INC.’S REPLY TO
                 vs.                          )             PLAINTIFF’S RESPONSE IN
                                              )             OPPOSITION TO SUMMARY
 JERSAM REALTY, INC.,                         )                   JUDGMENT
                                              )
                Defendant.                    )

        In accordance with the Court’s Consent Scheduling Order (Dkt. No. 15) and pursuant to Local

Rule 7.07, Counterclaimant/Defendant, Jersam Realty, Inc. (“Jersam” or “Buyer”) submits this Reply

to Plaintiff’s Response in Opposition to Jersam’s Motion for Summary Judgment (Dkt. No. 20, Pltf.

Response).

                                         REPLY ARGUMENT

        Despite Plaintiff’s convoluted arguments, this case is simple and centers on the Contract’s

bring down provision, which states, “[t]he representations and warranties of Seller set forth in this

Section 4 are made as of the date of this Contract and are and shall be restated as of the Closing

Date.” (Dkt. No. 1-1, Contract, at p. 11 of 62). In Section 4 of the Contract, entitled “Representations

of Seller,” Plaintiff as Seller “represent[ed] and covenant[ed]” to Buyer regarding the status of

Plaintiff’s leases and tenants. Id. at p. 8 of 62. Plaintiff as Seller agreed that the Representations of

Seller “are and shall be restated as of the Closing Date,” which the parties agreed to schedule on June

16, 2022. Id. at p. 11 of 62; Dkt. No 1, Complaint at ¶ 43. Specifically, in Section 4.02(b) of the

Contract, Plaintiff represented that “all of the Leases are in full force and effect.” (Dkt. No. 1-1,

Contract, at p. 8 of 62). In Section 4.02(k) of the Contract, Plaintiff represented that “to Seller’s actual

knowledge, no tenant who is in actual possession as of the Effective Date under any Lease is in breach



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of any of its obligations under said Lease, and there exists no conditions which, with the giving of

notice or the passage of time would constitute a breach by any tenant of its obligations under any

Lease.” Id. at p. 9 of 62.

        It is undisputed that prior to the closing, one of Plaintiff’s largest tenant’s,1 Epic Arcades SC

LLC (“Tenant Arcade”), failed to pay rent for June 2022 on June 1, 2022 and abandoned the premises.

Indeed, when Plaintiff’s counsel emailed Buyer regarding Tenant Arcade’s failure to pay rent and

abandonment of the premises, he acknowledged that “my client can no longer restate the

representations of Section 4.02 as it pertains to the Arcade as they have failed to pay June, 2022 Rent

or Additional Rent and now appear to be abandoning/surrendering the premises.” (Dkt. No. 7-1, Email

from Plaintiff’s Counsel). By Plaintiff counsel’s own admission, Plaintiff could not fulfill its

obligations under the Contract’s bring down provision.

        The subject property was marketed for sale as a multi-tenant retail project, with the property

to be sold along with the tenants and leases in place such that the existing leases would be assigned

to Buyer at closing. In this context, the purpose of a bring down provision2 is well established and

understood. “A bring down is a provision requiring the representations and warranties that were

made     at   signing    to   be    made    again   on    the    closing   date.”    Item   4-382-3286

(Westlaw Practical Law Glossary, 2022), https://us.practicallaw.thomsonreuters.com/4-382-3286;



1
  As shown in Schedule E to the Contract, Tenant Arcade’s monthly rent ($30,345.00) made up
32.52%, or over a third, of the $93,285.33 in monthly rents for the Property. The next largest tenant’s
rent was $16,083.75, with the rents of the remaining 3 tenants decreasing dramatically and ultimately
down to $800.00 per month (Dkt. No. 1-1, Contract, Schedule E, p. 53 of 62).
2
 A bring down provision can be automatic or it can provide for a separate certificate to be delivered
at closing. The Contract at issue did not require a separate certificate to be delivered at closing and
instead provided for the representations and warranties to be automatically restated as of the Closing
Date. (Dkt. No. 1-1, Contract, Section 4) (“[t]he representations and warranties of Seller set forth in
this Section 4 are made as of the date of this Contract and are and shall be restated as of the Closing
Date.”) (emphasis added). Despite Plaintiff’s arguments in its Response, there is no case law requiring
that a bring down provision be accompanied by a certificate.

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see also Bring-down Provision, Black's Law Dictionary (11th ed. 2019) (“A “bring-down provision”

is defined as “[a] contractual covenant that all of a party's representations and warranties were true

when    the    contract    was    executed    and       will    be   true   on   the   closing   date.”).

“‘[R]epresentations and warranties are statements of fact as of the date of the execution of the

acquisition agreement, and the truthfulness of the representations and warranties as of both

the date of execution and [] the date of the closing is generally a condition to the closing.’” W. Filter

Corp. v. Argan, Inc., 540 F.3d 947, 952 (9th Cir. 2008) (quoting Samuel C. Thompson, Jr., Business

Planning for Mergers and Acquisitions 780 (Carolina Academic Press 2001) (1997). “In other words,

the representations and warranties serve as a safety net for the seller and buyer.” Id. “If, prior

to closing, either the seller or buyer discovers that a representation or warranty made by the other

party is not true, they have grounds for backing out of the deal.” Id. “The condition that the other

party's representations and warranties be true and correct at closing is generally the most significant

condition for both buyers and sellers.” Lou R. Kling et. al., Summary of Acquisition Agreements, 51

U. Miami L. Rev. 779, 799 (1997). “This ‘bringdown’ clause protects each party from the other’s

business changing or additional, unforeseen risks arising before closing.” Id. “The reps & warranties,

when combined with the bring-down condition, serve an important risk allocation purpose.” Akorn,

Inc. v. Fresenius Kabi AG, No. CV 2018-0300-JTL, 2018 WL 4719347, at *78, FN 761 (Del. Ch.

Oct. 1, 2018), aff'd, 198 A.3d 724 (Del. 2018) (internal citations omitted). “In effect, they provide

downside protection on specific aspects of the deal.” Id. “If those aspects are not true at the closing,

the buyer has the right to walk away.” Id. “This can include events that are outside the seller’s

control.” Id. “[W]here the representations and warranties expire at closing . . . it being understood

that the contractual representations and warranties will be true as of the closing date and can provide

a basis to avoid closing.” GRT, Inc. v. Marathon GTF Tech., Ltd., No. CIV.A. 5571-CS, 2011 WL

2682898, at *13 (Del. Ch. July 11, 2011).


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       I. Plaintiff’s reliance on the “effective date” language from the Assignment and
       Assumption of Leases Form, which was to be signed at the Closing, is misplaced.

       In its Response, Plaintiff improperly relies on the “Effective Date” language from the

“Assignment and Assumption of Leases” Form and Section 20.083 of the Contract to argue that its

representation and warranties need only be true as of Contract’s Effective Date. (Dkt. No. 20, Pltf.

Response, p. 6). However, the Assignment and Assumption of Leases is an unsigned and undated

form document, attached as a schedule to the Contract, which Plaintiff and Buyer were required to

execute and deliver “at the Closing.” (Dkt. No. 1-1, Contract, Sections 10 and 11).            Thus the

“Effective Date” as used in the Assignment and Assumption of Leases form document is the date of

Closing. Specifically, Sections 10 and 11 of the Contract provide:




3
 Section 20.08 of the Contract states, “[i]f the provisions of any schedule or rider to this Contract are
inconsistent with the provisions of this Contract, the provisions of such Schedule or rider shall
prevail,” (Dkt. No. 1-1, Contract, Section 20.08).

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(Dkt. No. 1-1, Contract, Sections 10 and 11). Plaintiff argues that the “Effective Date” language

used in the form document, which was to be executed and delivered “at the Closing,” is the same as

the “Effective Date” of the Contract (the date the Contract was signed). This argument makes no

sense. For example, if Plaintiff’s argument was correct, Buyer would have been the landlord on date

the Contract was signed. However, on the date the Contract was signed, Plaintiff did not assign any

of its leases and Buyer did not take any assignment of the leases. It is undisputed that the Contract’s

effective date was May 13, 2022, the date the Contract was signed. It is also undisputed that the

Assignment of Leases would not be executed or occur until the Closing. Thus, Plaintiff’s reliance on

the “effective date” language from the Assignment and Assumption of Leases Form, which was to be

executed and delivered at the Closing, is without merit.

       II. Plaintiff’s reliance on the leases being classified as “permitted exceptions” to
       title and Section 20.08 of the Contract is also misplaced.

       Plaintiff argues that by virtue of the subject leases being “permitted exceptions” to title, any

representations and warranties of Plaintiff (as seller) in the Contract concerning the leases were

meaningless. Plaintiff is correct insofar as that the leases were permitted exceptions to title. The

subject property was marketed for sale as a multi-tenant retail project, with the property to be sold

along with the tenants and leases in place. Buyer, had it closed on the Property, would have been

required to (and desired to) take title to the property subject to the leases and tenancies then in place,

and those leases would have been assigned to and assumed by Defendant at the closing. Defendant

would have had no right to unilaterally terminate those leases by virtue of Defendant’s acquisition of

the property.

       A permitted exception is a term of art in the real estate industry that applies to title. “In a

purchase and sale agreement, the seller typically agrees to deliver and the purchaser agrees to accept




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clean title to real property subject to specific permitted exceptions.”4 A review of the Contract reveals

that the term Permitted Exceptions is used with that meaning and intent. For example, Sections 1.02,

4.01, 10.01(a), and 13.01 of the Contract all include the term “Permitted Exception,” and all relate to

title. (Dkt. No. 1-1, Contract).

        Plaintiff’s reliance on the permitted exceptions are simply not relevant to this matter, as title

is not the issue at hand. The issue at hand is Plaintiff’s breach of its representations and warranties

contained in Section 4 of the Contract. Specifically, Plaintiff’s assertion, though convoluted, seems

to imply that by virtue of such leases being “permitted exceptions” to title, any representations and

warranties of Plaintiff (as seller) concerning the leases in the Contract were meaningless. However,

the fact that the Leases are permitted exceptions to title is not inconsistent with the representations

and warranties made by Seller concerning the leases.

        Thus, Plaintiff’s reliance on Section 20.08 is misplaced. Section 20.08 of the Contract states,

“[i]f the provisions of any schedule or rider to this Contract are inconsistent with the provisions of

this Contract, the provisions of such Schedule or rider shall prevail,” (Dkt. No. 1-1, Contract, Section

20.08). The portions of the Contract providing for “permitted exceptions” to title (including, without

limitation, the leases) and the portions of the Contract setting forth Plaintiff’s representations and

warranties regarding the leases are complimentary, not contradictory. Permitted exceptions or

permitted encumbrances are exceptions to title. In an ideal world, a buyer would acquire 100% fee

simple title when acquiring a property, subject to nothing. In the real world, there are many things

that cause fee simple title to be less than absolute, including easements, restrictive covenants,

encroachments, and leases and tenancies in place. Here, Defendant does not argue that its title would

not have been subject to the leases had the transaction closed. In fact, the leases were desired and



4
    “Permitted Exception,” Item w-017-1724 (Westlaw Practical Law Glossary,                       2023),
https://us.practicallaw.thomsonreuters.com/w-017-1724.

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went to the heart of the economics of the deal. As is customary in real estate transactions where a

property is to be sold along with the tenants and leases in place, Buyer negotiated a contract that

required Plaintiff, as Seller, to make certain representations and warranties about the leases, including

representations and warranties that “all of the Leases are in full force and effect” and that no tenant

“is in breach of any of its obligations under said Lease.” (Dkt. No. 1-1, Contract, at Section

4.02(b)(k)). In nearly every purchase agreement where a property is to be sold along with the tenants

and leases in place, the leases are classified as permitted exceptions to title and the seller makes

representations and warranties regarding the leases. These customary provisions are complimentary

and can coexist – these are not contradictory provisions. Accordingly, Section 20.8 is not implicated,

and Plaintiff’s reliance on said provision is misplaced.

       While Plaintiff’s arguments are creative, the arguments fly in the face of well understood

principles applicable to real estate law that are customary in this type of transaction. Indeed, Plaintiff

has not and cannot cite to any cases holding that by virtue of the leases being “permitted exceptions”

to title, any representations and warranties concerning the leases were meaningless. Plaintiff’s

argument is contrary to the well understood function of representations and warranties and contrary

to the well understood function of a bring down provision. W. Filter Corp., 540 F.3d at 952

(“‘representations and warranties are statements of fact as of the date of the execution of the

acquisition agreement, and the truthfulness of the representations and warranties as of both

the date of execution and [] the date of the closing is generally a condition to the closing . . . In other

words, the representations and warranties serve as a safety net for the seller and buyer,” and “[i]f prior

to closing, either the seller or buyer discovers that a representation or warranty made by the other

party is not true, they have grounds for backing out of the deal.”); see also Dermatology Assocs. of

San Antonio v. Oliver St. Dermatology Mgmt. LLC, No. CV 2017-0665-KSJM, 2020 WL 4581674,

at *29 (Del. Ch. Aug. 10, 2020) (“the well-understood function of [a bring down provision] is to


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‘protect[ ] each party from the other’s business changing or additional, unforeseen risks arising prior

to closing . . . its purpose [is] protecting against business changes that arise between the signing and

closing.”)

                                           CONCLUSION

       Based on the foregoing, Counterclaimant/Defendant, Jersam Realty, Inc. respectfully requests

that the Court deny Plaintiff’s Motion for Summary Judgment and issue an Order granting Jersam

summary judgment on its Counterclaims, awarding the relief sought therein, and dismissing

Plaintiff’s Complaint. Specifically, Jersam Realty, Inc. respectfully requests that the Court rule as a

matter of law that (1) Defendant/Buyer properly terminated the Contract because Plaintiff, Chalpin

Realty, SC, LLC, could not meet its obligation to restate the representations and warranties made in

Section 4 of the Contract “as of the closing date” (June 16, 2022) due to one of Plaintiff/Seller’s

tenants failing to pay rent and the tenant’s abandonment of Plaintiff/Seller’s premises; and (2) as a

result and pursuant to the Contract, Defendant/Buyer is entitled to the return of its $1,000,000.00

Downpayment (plus Plaintiff’s payment of statutory interest of 7.25% from June 23, 2022),

$20,000.00 in Actual Costs Incurred prior to the scheduled closing, and all litigation expenses,

including actual attorney’s fees and court costs incurred in this action. In the event the Court rules in

favor of Counterclaimant/Defendant, Jersam Realty, Inc., it respectfully requests leave of Court to

submit an affidavit addressing the Actual Costs Incurred, its litigation expenses (including actual

attorney’s fees and court costs incurred in this action), and a statutory interest calculation for the

Court’s consideration.




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                                      Respectfully Submitted,



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February 10, 2022




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